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 8                                    UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   GRACE NAVARRO and CHATHAM                          Case No. 1:24-cv-00288-JLT-BAM
     MULLINS, on behalf of themselves, and
12   all other similarly situated, and the general      ORDER GRANTING JOINT
     public,                                            STIPULATION FOR LIMITED STAY
13
                        Plaintiffs,                     (Doc. 14)
14
            v.
15
     WALMART, INC. and DOES 1 to 50,
16   Inclusive,
17                      Defendants.
18

19          On June 6, 2024, the parties filed a joint stipulation for a limited stay of this action
20   pending resolution of Plaintiffs’ Motion for Transfer of Actions under 28 U.S.C. § 1407 for
21   Coordination or Consolidated Pretrial Proceedings with the United States Judicial Panel on
22   Multidistrict Litigation (“MDL Motion”). The MDL Motion has been assigned MDL Docket No.
23   3120, and a briefing schedule has been entered. Given the pending MDL Motion, the parties
24   request that a limited stay be entered in this matter until 30 days after a ruling on the MDL
25   Motion. (Doc. 14.)
26          Having considered the parties’ stipulation, and good cause appearing, IT IS HEREBY
27   ORDERED that the above-captioned action is stayed until 30 days after a ruling on Plaintiffs’
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                                                       1
     Case 1:24-cv-00288-JLT-BAM Document 15 Filed 06/07/24 Page 2 of 2


 1   MDL Motion. Plaintiff shall notify the Court in writing within ten (10) days of any disposition of

 2   the MDL Motion.

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     IT IS SO ORDERED.
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 5      Dated:     June 6, 2024                              /s/ Barbara A. McAuliffe             _
                                                         UNITED STATES MAGISTRATE JUDGE
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